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Case 1:20-cv-00634-AJT-JFA Document 44 Filed 10/06/20 Page 1 of 2 PagelD# 476

UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA

 

Rakmoth Ullah

 

Plaintiff
Civil Action No.: 1:20-CV-634
VS.
Robert A. Linkenauger, et al.
Defendant(s)
AFFIDAVIT OF SERVICE

 

I, James R. Parker, a Private Process Server, being duly sworn, depose and say:
That I have been duly authorized to make service of the Subpoena Duces Tecum with Attachment A in the above entitled case.
That J am over the age of eighteen years and not a party to or otherwise interested in this matter.

That on 9/17/2020 at 2:00 PM, I served Suzanne Pierce at 1328 3rd Street, SW, Roanoke, Virginia 24016 with the Subpoena Duces
Tecum with Attachment A by serving Suzanne Pierce, personally.

Suzanne Pierce is described herein as:

Gender: Female Race/Skin: White Age: 28 Weight: 130 Height: 5'11" Hair: Blonde Glasses: No

I declare under penalty of perjury that this information is true and correct,

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Executed On G Q 7-Ab

 

 

©" James R. Parker

Client Ref Number:N/A
Job #: 1581534

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 1:20-cv-00634-AJT-JFA Document 44 Filed 10/06/20 Page 2 of 2 PagelD# 477

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

Rakmoth Ullah

 

Plaintiff
Vv

. Civit Action No, 1:20-CV-634
Robert A. Linkenauger and | Love Basketball, LLC

. Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Micah Fraim
325 Mountain Ave SW, Roanoke, VA

(Name of person to whom this subpoena is directed)

 

v4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A

 

Place: Email to counsel: sharris@dimuro.com or mail: Stacey _| Date and Time:
Rose Harris, 1101 King St, Ste 610, Alexandria, VA .
22314, or produced at another agreed upon location 10/01/2020 5:00 pm

 

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: Date and Time: |

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT Me ke
on Sey M4

Signature of Clerk or Deputy Clerk Attorney 's signature

 

 

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Rakmoth Ullah , who issues or requests this subpoena, are:

Stacey Rose Harris, DiMuroGinsberg PC, 1101 King Street, Ste. 610, Alexandria, VA 22314, (703) 684-4333

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed, R. Civ. P. 45(a)(4).
